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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



DEFENDERS OF WILDLIFE; NATURAL                     )
RESOURCES DEFENSE COUNCIL;                         )
SIERRA CLUB; and CENTER FOR                        )
BIOLOGICAL DIVERSITY                               )
                                                   )
              Plaintiffs,                          )
                                                   )
       vs.                                         )      Case No. 1:12-cv-01833-ABJ
                                                   )
KEN SALAZAR, Secretary of the Interior;            )
DAN ASHE, U.S. Fish and Wildlife Service           )
Director; and UNITED STATES FISH AND               )
WILDLIFE SERVICE,                                  )
                                                   )
              Defendants.                          )



   [PROPOSED] ORDER GRANTING THE HUMANE SOCIETY OF THE UNITED
STATES’ AND THE FUND FOR ANIMALS’ UNOPPOSED MOTION FOR LEAVE TO
 FILE AN AMICUS CURIAE BRIEF IN OPPOSITION TO FEDERAL DEFENDANTS’
       MOTIONTO TRANSFER VENUE TO THE DISTRICT OF WYOMING




       Upon consideration of the Humane Society of the United States’ and the Fund for

Animals’ Unopposed Motion for Leave to File an Amicus Curiae Brief in Opposition to Federal

Defendants’ Motion to Transfer Venue to the District of Wyoming, it is hereby


       ORDERED that the Humane Society of the United States’ and the Fund for Animals’

Motion is GRANTED and that the Proposed Amicus Curiae Brief in Opposition to Federal

Defendants’ Motion to Transfer Venue to the District of Wyoming is hereby deemed filed with

this Court.


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Dated: ___________________                     _______________________
                                               U.S. District Court Judge




                                      2
